Filed 8/21/24 In re A.R. CA4/3




                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
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or ordered published for purposes of rule 8.1115.


         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  FOURTH APPELLATE DISTRICT

                                               DIVISION THREE


 In re A.R. et al., Persons Coming
 Under the Juvenile Court Law.

 ORANGE COUNTY SOCIAL
 SERVICES AGENCY,
                                                                        G063607
       Plaintiff and Respondent,
                                                                        (Super. Ct. Nos. 21DP1317,
           v.                                                            21DP1318)

 J.M. et al,                                                            OPINION

       Defendants and Appellants.



                   Appeal from orders of the Superior Court of Orange County, Julie
Anne Swain, Judge. Affirmed.
                   Jesse McGowan, under appointment by the Court of Appeal, for
Defendant and Appellant P.R.
             Sarah Vaona, under appointment by the Court of Appeal, for
Defendant and Appellant J.M.
             Leon J. Page, County Counsel, Debbie Torrez and Deborah B.
Morse, Deputy County Counsel, for Plaintiff and Respondent.
             No appearance for the Minors.
                            *          *          *
             J.M. (Mother) and P.R. (Father), the parents of dependent
children A.R. and C.R., now ages 14 and 13 respectively (the children), appeal
from the orders terminating their parental rights and freeing the children for
adoption, pursuant to Welfare and Institutions Code section 366.26.1
             Mother and Father argue the juvenile court erred by terminating
reunification services at the disposition hearing. Neither challenged that
order by a writ petition, and the issue therefore has been forfeited. Even if we
were to consider the issue now, we would conclude the Orange County Social
Services Agency (the Agency) offered or provided reasonable services to
Father.
             Mother and Father also challenge the termination of parental
rights on the grounds the juvenile court failed to make a finding of detriment
to the children and because there was no evidence the children were
adoptable. We conclude the court’s findings of detriment at the disposition
hearing, which were not challenged, were sufficient for purposes of the
section 366.26 hearing, and there was substantial evidence the children were
adoptable.
             We therefore affirm.


             1
              All further statutory references are to the Welfare and
Institutions Code, unless otherwise noted.

                                       2
                                                                   2
                FACTUAL AND PROCEDURAL BACKGROUND
                                        I.
                       DETENTION THROUGH DISPOSITION
            A petition was filed in November 2021 alleging A.R. and C.R.,
then ages 12 and 10 respectively, came within section 300, subdivision (b)(1).
At the time, they were living with Mother. Father resided in Mexico, having
been deported around 2014 due to drug-related criminal offenses. Mother was
alleged to have failed to provide for the children’s medical, educational, and
basic hygiene needs. She also was alleged to have an unresolved history of
mental health, anger management, and substance abuse problems. The
children were ordered detained and removed from Mother’s custody.
            In December 2021, Father contacted the Agency to express his
interest in being involved in the child welfare proceedings and his availability
to participate in the jurisdiction/disposition hearing scheduled in January
     3
2022. Father indicated he was willing to participate in reunification services,
and the social worker informed Father she had left a message with the
Mexican Consulate regarding services available in Tijuana. Regarding
visitation, the jurisdiction report noted: “Since he lives in Tijuana, face to face
visits will be difficult to complete. Contact between the father and the
children [has] consisted of one phone call since they came to the attention of
Social Services. The father reported that he will continue to call them. In the
future, communication via video chats may be explored.” Father was given

            2
              Although Mother joined in Father’s appeal, she does not raise
any separate arguments. We therefore limit our summary of the relevant
facts to those necessary to understand and analyze the issues before us.

            3
             Father’s contention that the social worker did not attempt to
contact him in Mexico until June 7, 2022, is incorrect.

                                        3
contact information for the children, but he lost the information. Father
initially maintained consistent contact with the Agency, participated in the
development of a case plan, and participated in a child and family team
meeting. However, he later stopped contacting the children or the social
worker, and his phone number was changed or disconnected.
             At the jurisdiction hearing, the juvenile court found the
allegations of the petition, as amended, true by a preponderance of the
evidence and found the children came within the court’s jurisdiction. At the
disposition hearing, Father’s counsel submitted. The court found by clear and
convincing evidence it would be detrimental to the children to vest custody
with either Mother or Father and declared the children to be dependents of
the court.
             Father’s case plan responsibilities consisted of general
counseling, parenting education, a 12-Step program, an outpatient substance
abuse program, and substance abuse testing. Father was approved to have
unsupervised phone calls with the children.
                                       II.
                 THE AGENCY’S ATTEMPTS TO CONTACT FATHER
             Because of a series of continuances (the reasons for which are
irrelevant to the issues on appeal), separate six-month, twelve-month, and
eighteen-month hearings were not held in this case. The status review
reports, interim reports, and addendum reports filed by the Agency between
September 2022 and May 2023 revealed the following regarding attempts to
communicate with or about Father, his case plan services, and his visitation
with the children.




                                        4
                                            4
            Between May and July 2022, the Agency made repeated
attempts to communicate with the Mexican Consulate in Santa Ana to
discuss Father’s case plan services. In August, the assigned social worker met
with a consulate employee and was advised the consulate had thus far been
unable to locate Father in Mexico. The social worker provided the consulate
employee with the address the Agency currently had for Father.
            In June and July 2022, the social worker made several attempts
                                                                               5
to contact Father by phone, but was never able to leave a voicemail message.
On July 27, the social worker mailed a contact letter to Father at the address
on file.
            On August 18, 2022, the social worker contacted the paternal
grandmother, who provided a new cell phone number for Father. The next
day, the social worker was able to communicate directly with Father. Father
confirmed he had not participated in any case plan services, and the social
worker told him to contact Desarrollo Integral de la Familia, a Mexican child
welfare agency in Tijuana, Mexico (DIF). (See In re N.O. (2019) 31
Cal.App.5th 899, 903.) The social worker also provided Father’s new cell
phone number and address to the Mexican Consulate.
            On August 24, 2022, the social worker spoke with Father via cell
phone. Father advised he had the next day off work and would be going to
DIF to get help with his case plan services. On September 8 and 27, 2022, the
social worker called Father’s cell phone and left a voicemail and/or text
message requesting a follow up call regarding his case plan services. The
children’s caregiver reported Father had an unsupervised phone call with

            4
                May 4, May 17, June 6, June 16, June 29, and July 20, 2022.

            5
                June 7, June 29, and July 20, 2022.

                                        5
A.R. for one hour on August 28, 2022. The social worker advised the caregiver
physical visits were currently suspended, but the children could use
WhatsApp to have videoconference visits with Father.
            As of September 2022, the Agency believed additional time was
necessary to assess Father’s ability to address the issues that brought him
before the juvenile court, and it recommended the court continue
reunification services for Father.
            On October 14, 2022, a consulate employee sent an email
advising the Agency that cross-border visits would be suspended until further
notice. On the same day, the social worker spoke with Father via cell phone.
Father told the social worker he had not gone to DIF because there were
three locations in Tijuana and he was unsure which one to go to. Father could
not explain why he had not requested further information from the social
worker. Father promised to text his current mailing address to the social
worker and to contact the social worker on another day to schedule a
telephonic meeting in November. Father failed to provide his mailing address
despite multiple text messages from the social worker over the next seven
months requesting the address.6
            In response to a request from the social worker, an employee of
the Mexican Consulate sent an email to the Agency on November 9, 2022,
reiterating that cross-border visits were suspended until further notice.



            6
             October 19, October 20, October 26, November 21, and
December 15, 2022; January 19, January 20, February 9, February 15,
February 21, March 2, March 3, March 13, March 20, April 4, April 10, April
17, May 8, May 15, May 17, and May 24, 2023. The social worker noted he
was using the WhatsApp application, so he could confirm Father had read his
text messages.

                                       6
                                                                           7
Despite multiple communications between the Agency and the consulate, in-
person visitation between Father and the children was never an option
during the relevant period.
            The addendum reports for January through May 2023 noted
Father had made no progress on his case plan.
            In March 2023, A.R. reported he had not talked to Father, but
would like to do so. The social worker advised A.R. in-person visits were not
possible at that time. In April, A.R. told the social worker he had been text
messaging Father via Facebook Messenger. The children’s maternal
grandmother had helped A.R. find Father on Facebook.
            C.R. told the social worker she did not want to talk to Father.
The caretaker stated the last phone call between Father and the children
occurred in August 2022. She further stated A.R. had not requested any
phone calls with Father and C.R. had responded “No” when asked if she
would like to talk to Father.
            In May 2023, A.R. stated he had not talked to Father “‘in a
while,’” but he would like to talk to Father on the phone. He was aware the
caretaker could contact Father. C.R. again stated she did not want to talk to
Father. The caretaker and various relatives confirmed the children had not
spoken with Father recently.
            In an addendum report dated May 31, 2023, the Agency reported
Father had not participated in his case plan and concluded he had “made no
progress in mitigating and alleviating the circumstances which have brought
him and the children to the attention of the [Agency].” The Agency therefore


            7
                March 7, March 22, April 7, April 14, May 8, May 15, and May
24, 2023.

                                       7
recommended reunification services be terminated and the matter be set for a
section 366.26 hearing.
            Because of a series of continuances involving the unavailability of
the court and/or counsel, the six-month, twelve-month, and eighteen-month
hearings were consolidated into a single hearing in June 2023. At the
conclusion of the contested hearing, the juvenile court found reasonable
services had been provided to Mother and Father and returning the children
to their parents would create a substantial risk of detriment to their safety,
protection, or physical or emotional well-being. The court then terminated
reunification services and set the matter for a permanency hearing under
section 366.26. Mother filed a notice of intent to file a writ petition to review
the order setting a section 366.26 hearing, but never filed a petition.
                                       III.
                  THE SECTION 366.26 PERMANENCY HEARING
            In the section 366.26 report, the Agency noted that because of the
children’s ages and their status as a sibling set, it could be “challenging” to
find them an adoptive home. The children were specifically adoptable,
however, as the caregivers with whom they had lived for 18 months wanted
to adopt them. The children wanted to be adopted and wanted the
permanency of adoption. Their visits with Mother during the child welfare
proceedings had caused both of them “anguish.” The Agency concluded
adoption was the most appropriate permanent plan for the children.
            As to the children’s relationship with the caregivers/prospective
adoptive parents, the Agency noted: “The children have been adjusting well
in placement. The caregivers are meeting the children’s medical,
developmental, emotional, and educational needs. The caregivers have
consistently followed up with the undersigned regarding the children’s

                                        8
medical appointments, as well as newly achieved developmental milestones.
The children appeared to be doing well in their current placement home as
evidenced by their warm, loving and affectionate relationship towards the
caregiver. The children . . . have a CASA worker, and they enjoy their
outings, and have a strong support system through maternal family
members. Furthermore, the caregivers are willing and capable of providing
permanency for the children through adoption. The undersigned has observed
positive interactions between the caregivers, the caregiver’s child during the
children’s monthly visits. The children have shown attachment to the
caregivers and have been responsive to simple directions from them.”
            The Agency noted nothing had happened since reunification
services were terminated that would enable the children to be safely returned
to either Mother or Father. The maternal relatives, who had visited the
children regularly during the child welfare proceedings, expressed their
desire that the children be adopted by the caregivers/prospective adoptive
parents.
            Based on all the foregoing, the Agency recommended the juvenile
court terminate parental rights to allow the children to be adopted.
            A preliminary adoptive assessment of the caregivers established
they understood the rights and responsibilities of adoption, had the ability to
meet the children’s needs, and were committed to providing permanency for
the children. When the children were asked to identify someone by whom
they would like to be adopted, A.R. identified the caregivers “‘because I feel
safe.’” C.R. said adoption means to “‘live with the person forever and they are
your parents. I want that to happen with [the caregivers], to live with them.’”
C.R. also said the caregivers “‘feed us and care for us’” and take them on
trips.

                                       9
            C.R. testified at the section 366.26 hearing she wanted to be
adopted by the caregivers/prospective adoptive parents. She said her desire to
be adopted would not change even if adoption, rather than legal
guardianship, meant she could not visit with Mother or her maternal
relatives again.
            A.R. also testified at the section 366.26 hearing he would like to
be adopted by the caregivers/prospective adoptive parents. But A.R. testified
he wanted a permanency plan that would allow him to continue to have visits
with Mother and his maternal relatives, and he “would say no” to being
adopted if it meant having no contact with them. He wanted Father to
continue being his father.
            No other witnesses were called to testify at the hearing. The
juvenile court found the children were likely to be adopted, and neither
Mother nor Father had met their burden of proving an exception to adoption.
Therefore, the court ordered that Mother and Father’s parental rights over
the children be terminated and the children be placed for adoption. Mother
and Father separately filed timely notices of appeal.
                                  DISCUSSION
                                        I.
                   TERMINATION OF REUNIFICATION SERVICES
A. Failure to File a Writ Petition
            On appeal, Father challenges the reasonableness of the
reunification services provided to him by the Agency. An order terminating
reunification services and setting a section 366.26 hearing must be
challenged by a writ petition. (§ 366.26, subd. (l)(1), (2).) Mother timely filed a
notice of intent to file a writ petition after the hearing setting the section
366.26 hearing, but later submitted a letter to the Court of Appeal indicating

                                        10
her intent not to file a petition because of a lack of arguable merit, pursuant
to Glen C. v. Superior Court (2000) 78 Cal.App.4th 570, 583–584. No party
ever filed a writ petition. Father therefore waived his right to challenge the
termination of reunification services.
            Father argues good cause exists to excuse his failure to comply
with the writ petition requirement because the juvenile court’s record lacks
evidence the court clerk served him with a written advisement of the right to
seek writ review of the order terminating reunification services and setting
the section 366.26 hearing. “[J]udicial error in failing to advise a party in a
dependency proceeding of the writ requirement for challenging an order
setting a section 366.26 hearing that results in a failure to file a writ petition
may excuse a party’s failure to comply with that requirement and allow a
reviewing court to reach the issues on appeal from the orders following the
section 366.26 hearing.” (In re A.H. (2013) 218 Cal.App.4th 337, 347.)
            California Rules of Court, rule 5.590(b) provides, in relevant part:
“When the court orders a hearing under section 366.26, the court must advise
all parties and, if present, the child’s parent, guardian, or adult relative, that
if the party wishes to preserve any right to review on appeal of the order
setting the hearing under section 366.26, the party is required to seek an
extraordinary writ by filing a Notice of Intent to File Writ Petition and
Request for Record (California Rules of Court, Rule 8.450) (form JV-820) or
other notice of intent to file a writ petition and request for record and a
Petition for Extraordinary Writ (California Rules of Court, Rules 8.452, 8.456)
(form JV-825) or other petition for extraordinary writ. [¶] . . . [¶] If a party is
not present when the court orders a hearing under section 366.26, within 24
hours of the hearing, the advisement must be made by the clerk of the court
by first-class mail to the last known address of the party or by electronic

                                         11
service in accordance with section 212.5. If the notice is for a hearing at
which the social worker will recommend the termination of parental rights,
the notice may be electronically served in accordance with section 212.5, but
only in addition to service of the notice by first-class mail.” (Cal. Rules of
Court, rule 5.590(b)(2).)
            Father was not present at the hearing at which reunification
services were terminated and the matter was set for a section 366.26 hearing.
Pursuant to California Rules of Court, rule 5.590(b), the court clerk provided
the writ advisement to him by first-class mail. The court’s minute order from
the hearing reads, in relevant part: “Parents noticed by first class mail that if
the party wishes to preserve any right to review on appeal of the order
setting the hearing under Welfare and Institutions Code Section 366.26, the
party is required to seek an extraordinary writ by filing a Notice of Intent to
File Writ Petition and Request for Record (JV-820) and Petition for
Extraordinary Writ (JV-825). [¶] Clerk to send writ advisement to [Mother
and Father] to their address on file. [¶] Forms JV-820 and JV-825 and copy of
minute order dated June 27, 2023 mailed on June 28, 2023 to: [Mother and
Father].”
            Father argues, however, that the writ advisement did not comply
with the Rules of Court because it was not sent with a proof of service. He
contends the advisement is a “notice,” which is defined in California Rules of
Court, rule 5.502(27) as “a paper to be filed with the court accompanied by
proof of service on each party required to be served in the manner prescribed
by these rules. If a notice or other paper is required to be given to or served
on a party, the notice or service must be given to or made on the party’s
attorney of record, if any.” Therefore, he argues, the clerk was required to



                                        12
attach a proof of service to the writ advisement. This argument fails for three
related reasons.
            First, the writ advisement required by California Rules of Court,
rule 5.590(b) is not a paper to be filed with the court, but rather is an
advisement “made by the clerk,” for which a formal proof of service is not
required. (Cal. Rules of Court, rule 5.590(b)(2).) Notably, that rule refers to
the clerk making a writ advisement, not serving a notice on an absent party.
Second, rule 5.502(27) references notice to or service on an attorney of record;
rule 5.590(b), however, requires that the writ advisement be sent to a party,
further indicating rule 5.502(27) does not apply to writ advisements. Third,
rule 5.502(27) specifically notes that its definitions do not apply if “the
context or subject matter otherwise requires.” To make sense together, rules
5.502(27) and 5.590(b) cannot be read as Father suggests.
            The notation in the minute order that the writ advisement had
been mailed to Father was sufficient to show the court advised Father of the
right to seek writ review of the order terminating reunification services and
setting the section 366.26 hearing because “[i]t is presumed that official duty
has been regularly performed.” (Evid. Code, § 664; see In re Mary C. (2020) 48
Cal.App.5th 793, 806.) Father has offered nothing to rebut this presumption
that the writ advisement was mailed as indicated. The issue has been waived
for purposes of this appeal.
B. Reasonable Services Were Offered or Provided
            If we were to address the issue despite its waiver, we would
review the juvenile court’s finding that reasonable services had been provided
or offered under the substantial evidence standard. (Katie V. v. Superior
Court (2005) 130 Cal.App.4th 586, 598.) “[I]n reviewing the reasonableness of
the reunification services provided by the [Agency], we must . . . recognize

                                        13
that in most cases more services might have been provided, and the services
which are provided are often imperfect. The standard is not whether the
services provided were the best that might have been provided, but whether
they were reasonable under the circumstances.” (Elijah R. v. Superior Court
(1998) 66 Cal.App.4th 965, 969.) In reviewing the reasonableness of services
offered, we view the evidence in a light most favorable to the respondent and
draw all reasonable inferences to uphold the juvenile court’s order.
(Christopher D. v. Superior Court (2012) 210 Cal.App.4th 60, 70.) The Agency
bears the burden of proving by clear and convincing evidence that reasonable
services were provided. (Serena M. v. Superior Court (2020) 52
Cal.App.5th 659, 674.) We must bear this heightened standard of review in
mind when applying the substantial evidence test. (Ibid.)
            Where the issue of reasonable services is considered for the first
time at a combined six-, twelve-, and eighteen-month hearing, we must
consider whether reasonable services were provided throughout the entire
dependency period. (Serena M. v. Superior Court, supra, 52 Cal.App.5th at
p. 675.)
            Services for parents, such as Father, who have been deported
may include: “Reasonable efforts to assist parents who have been deported to
contact child welfare authorities in their country of origin, to identify any
available services that would substantially comply with case plan
requirements, to document the parents’ participation in those services, and to
accept reports from local child welfare authorities as to the parents’ living
situation, progress, and participation in services.” (§ 361.5, subd. (e)(1)(E).)
Father contends the services provided were not reasonable because the social
worker failed to arrange services with DIF and failed to attempt to
communicate with Father through Facebook.

                                        14
            The evidence is undisputed that on August 24, 2022, the social
worker spoke with Father, at which time Father stated he would go to DIF
the next day to get help with his case plan services. The social worker was
unable to contact Father in September despite leaving multiple voicemail and
text messages. On October 14, 2022, the social worker again was able to
contact Father, who stated he had not gone to DIF because he was confused
about which location he should go to. Father promised to text his current
mailing address to the social worker and to schedule another telephone call.
But Father failed to communicate with the Agency for seven months, despite
numerous messages from the social worker. Although the Agency’s written
reports show the social worker used different phone numbers to contact
Father, we see this as an attempt to go beyond the information provided by
Father and make additional efforts.
            In In re D.R. (2019) 39 Cal.App.5th 583, the appellate court
concluded the child welfare agency had failed to give the father adequate
notice of the proceedings and granted his section 388 motion to void the
jurisdiction and disposition orders as to the father. After the children were
detained, the mother told the child welfare agency the father had been
deported to Mexico. (Id. at p. 587.) An older half-sibling advised the child
welfare agency investigator he had contact with the father through Facebook,
and someone had provided the agency a phone number in Mexico. (Ibid.) One
of the dependent children spoke with the father via cellphone during an
unmonitored visit with another half-sibling, who also had contact with the
father via Facebook. (Id. at p. 588.) The agency never asked the half-siblings
about the father’s Facebook profile, conducted searches only within the
United States, and did not research the father’s whereabouts after being
provided with a Mexican telephone number for him. (Id. at pp. 588–589.) The

                                       15
agency did not follow up with the mother although she told the juvenile court
she had taken the children to visit the father in Tijuana. (Id. at p. 592, fn. 2.)
            The appellate court reversed the jurisdiction and disposition
orders because the agency had failed to exercise reasonable diligence in
locating the father. The agency could have asked the half-siblings to help
locate the father via social media and could have used search methods more
likely to produce useable results. “Not once did DCFS follow the most likely
means of being able to actually identify Father and gain his contact
information to notify him.” (In re D.R., supra, 39 Cal.App.5th at pp. 591–592.)
            Similarly, in In re A.G. (2017) 12 Cal.App.5th 994, the appellate
court held the juvenile court failed to provide reasonable services to the
parent living in Mexico. “The record does not contain any evidence to show
that during the review period, the Agency assisted A.J. in contacting DIF for
service referrals or identified any available services that would substantially
comply with case plan requirements. The record shows that A.J. was not
offered, or provided with, the court-ordered services in his case plan during
the review period. Accordingly, we conclude there is not substantial evidence
to support the reasonable services finding.” (Id. at p. 1003.)
            The facts at hand are very different from those in In re D.R. and
In re A.G. Contrary to the implication in Father’s opening brief, neither the
statute nor the relevant cases impose on the Agency a duty to contact foreign
child welfare authorities on behalf of the deported parent, rather than to
assist the parent in contacting those authorities. Substantial evidence in this
case supports the juvenile court’s finding the Agency took all reasonable steps
to provide reasonable services to Father in Mexico. This is not a case where
the Agency was looking for a needle in a foreign haystack without the use of
social media or other contacts provided by the deported parent’s family. To

                                        16
the contrary, the Agency had actual contact with Father; Father participated
in creating his case plan; and the Agency communicated to him the steps he
needed to take to obtain those services and identified for him the
organization in Mexico at which he could do so. Father then ceased all contact
with the Agency without providing updated contact information.
            Where—as here—the Agency has contact information for an out-
of-country parent and uses that contact information to communicate with
that parent, develop a case plan, and provide information on where and how
to obtain services in the foreign country, but the parent ceases
communication with the Agency and fails to even attempt to participate in
services or to contact the children, there is sufficient evidence that reasonable
services have been provided. A.R.’s communication with Father through
Facebook messenger does not change our analysis. The appellate record
reflects this communication did not begin until April 2023 and had ended by
May 2023. This method of communication was clearly no more likely to elicit
a response from Father than the ones being used by the Agency.
            The Agency’s failure to arrange visits between Father and the
children did not deny reasonable services to Father because visitation was
not permitted during the relevant time period. Moreover, from the beginning
of Father’s participation in the child welfare case, the Agency made clear
video visits would be necessary, but Father failed to communicate with the
children in this fashion.




                                       17
              The Agency did not fail to provide or offer reasonable services to
          8
Father.
                                        II.
                       TERMINATION OF PARENTAL RIGHTS
              “‘The juvenile court may terminate parental rights only if it
determines by clear and convincing evidence that it is likely the child will be
adopted within a reasonable time. [Citations.] In making this determination,
the juvenile court must focus on the child, and whether the child’s age,
physical condition, and emotional state may make it difficult to find an
adoptive family. [Citations.] In reviewing the juvenile court’s order, we
determine whether the record contains substantial evidence from which a
reasonable trier of fact could find clear and convincing evidence that [the
child] was likely to be adopted within a reasonable time. [Citations.]’
[Citations.] We give the court’s finding of adoptability the benefit of every
reasonable inference and resolve any evidentiary conflicts in favor of
affirming.” (In re Gregory A. (2005) 126 Cal.App.4th 1554, 1561–1562.)
              Adoption is the preferred option after parental rights have been
terminated. (§ 366.26, subd. (b)(1).) One of the exceptions to the preference
for adoption is that a child who is 12 years of age or older objects to the
termination of parental rights by the juvenile court. (§ 366.26,
subd. (c)(1)(B)(ii).)9 We review the juvenile court’s decision not to apply that


              8
              In reaching this conclusion, we need not rely on the Agency’s
references to its internal policies and memorandum of understanding with
the Mexican government. We do not accept Father’s argument these are
irrelevant, however.

              9
             A.R. and C.R. were 14 and 12, respectively, at the time of the
section 366.26 hearing.

                                        18
exception for substantial evidence. (In re Christopher L. (2006) 143
Cal.App.4th 1326, 1333.) Father bears the burden of showing the court’s
order is not supported by substantial evidence. (Id. at pp. 1333–1334.)
A. Finding of Detriment
            Father argues the juvenile court erred by failing to find by clear
and convincing evidence that awarding custody to him would be detrimental
to the children. (In re G.P. (2014) 227 Cal.App.4th 1180, 1193.) But Father
concedes he failed to raise this issue at the section 366.26 hearing.
Accordingly, the issue has been forfeited. (See In re T.G. (2015) 242
Cal.App.4th 976, 984; In re Dakota H. (2005) 132 Cal.App.4th 212, 222.)
            Additionally, Father submitted at the disposition hearing without
argument. At that hearing, the juvenile court found by clear and convincing
evidence pursuant to section 361, subdivision (c)(1) that it would be
detrimental to vest custody of the children with Mother or Father. Father
correctly notes the juvenile court did not make a finding of detriment under
section 361.2.10 There was, however, no error. Previously, section 361,
subdivision (c) did not authorize the court to enter an order removing a
dependent child from a parent who did not currently reside with that child.
(In re Dakota J. (2015) 242 Cal.App.4th 619, 629; see In re V.F. (2007) 157
Cal.App.4th 962, 969 [§ 361, subd. (c) does not address noncustodial
parents].) But at the time of the hearing in this case, section 361, subdivision
(d) applied the same standard of detriment whether or not the children


            10
               Section 361.2 addresses the placement of a child with a
noncustodial parent if the juvenile court orders the child’s removal from the
custodial parent. (§ 361.2, subd. (a).) If the noncustodial parent requests
custody, the court must place the child with that parent unless it makes a
finding of detriment. (Ibid.)

                                       19
resided with the parent at the time the petition was initiated. (Stats. 2017,
ch. 665, § 1.) Therefore, the juvenile court’s finding of detriment at the
disposition hearing was sufficient as to Father as a noncustodial parent, and
substantial evidence supports that finding as to both Mother and Father,
even in light of the heightened burden of proof.
B. Substantial Evidence Supports the Finding the Children Were Likely to be
Adopted
            Father argues the juvenile court erred by failing to consider legal
impediments to adoption under Family Code section 8602, which reads: “The
consent of a child, if over the age of 12 years, is necessary to the child’s
adoption.” Father contends the evidence did not support a finding the
children would consent to adoption by the caregivers. Family Code section
8602 does not apply in this child welfare proceeding. “Dependency
proceedings are special proceedings governed by their own rules and statutes.
[Citations.] Statutes applicable to civil cases are not applicable to dependency
actions unless expressly made so. [Citations.] Further, although section
366.26 explicitly adopts certain provisions of the Family Code, there is no
provision under section 366.26 adopting Family Code section 8602 for
juvenile dependency court proceedings.” (In re Christopher L., supra, 143
Cal.App.4th at p. 1333, fn. 3.)
            More important, contrary to Father’s argument, the children did
express their desire to be adopted by the caregivers. C.R. testified at the
section 366.26 hearing she wanted to be adopted by the caregivers, even if
that meant she would not thereafter see her parents and extended family.
A.R. also testified he wanted to be adopted by the caregivers. Both children
expressed an understanding of the difference between adoption and legal
guardianship, and both testified they would prefer not to lose contact with

                                        20
Mother and their extended family. But both ultimately expressed their desire
to be adopted by the caregivers. The caregivers indicated they would allow
visits between the children and their relatives.
C. There Was No Error in Failing to Allow A.R. to Testify Regarding Whether
He Would Consent to Adoption
            Father argues the juvenile court erred by prohibiting Father from
asking A.R. if he would consent to adoption. The following colloquy occurred
at the hearing:
            “Q [To A.R. from Father’s counsel]: Do you know, as you sit here
today, that you would have to consent and sign off on your own adoption?
            “The Court: Ms. Nerney, I am going to object. I am not going to
allow that question. It’s not the state of the law as the Court understands it.
            “Ms. Nerney: I believe it is, Your Honor, for children over 12.
            “The Court: They can object, but their consent is not required.
            “Ms. Nerney: I believe at the adoption hearing they have to sign
the form.
            “The Court: My understanding is that whatever the forms are—
            “Ms. Nerney: I can—
            “The Court: —they can object to the termination of parental
rights. The Court still would have to find a compelling reason for determining
that termination would be detrimental to the child due to that circumstance.”
            Because consent to adoption is not an issue for the juvenile
court’s consideration at a section 366.26 hearing, the court did not err in
prohibiting the inquiry.




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                             DISPOSITION
          The orders terminating parental rights are affirmed.




                                        GOODING, J.

WE CONCUR:



O’LEARY, P. J.



GOETHALS, J.




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